Case 3:07-ap-00308-JAF   Doc 60   Filed 04/16/11   Page 1 of 3
Case 3:07-ap-00308-JAF   Doc 60   Filed 04/16/11   Page 2 of 3
                          Case 3:07-ap-00308-JAF                 Doc 60       Filed 04/16/11          Page 3 of 3
                                                United States Bankruptcy Court
                                                 Middle District of Florida
 Maxfield,
               Plaintiff                                                                           Adv. Proc. No. 07-00308-JAF
 Jennings,
               Defendant
                                                  CERTIFICATE OF NOTICE
 District/off: 113A-3                  User: pcathy                       Page 1 of 1                          Date Rcvd: Apr 14, 2011
                                       Form ID: pdfdoc                    Total Noticed: 1


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Apr 16, 2011.
 dft           +Janice Kay Jennings,  335 Orchid Hill Lane,   Copper Canyon, TX 76226-4517

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 pla              Brandon James Maxfield
                                                                                                                     TOTALS: 1, * 0, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 16, 2011                                       Signature:
